         Case 23-12934        Doc 19 Filed 12/19/23 Entered 12/19/23 10:53:15                     Desc Notice
                                    Fixing Time For Filing Page 1 of 1
Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604


In Re:
                                                              Case No. 23−12934
ABAT Builders, Inc.                                           :
10700 W Higgins Road                                          Chapter : 7
Suite 350                                                     Judge :   Timothy A. Barnes
Des Plaines, IL 60018−3723
SSN: EIN: 36−3482312




Debtor's Attorney:                                                    Trustee:
David Freydin                                                         Richard M. Fogel
Law Offices of David Freydin Ltd                                      2540 Wilmette Ave
8707 Skokie Blvd                                                      Wilmette, IL 60091
Suite 312
Skokie, IL 60077                                                      847−769−8135

630−516−9990

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
September 28, 2023 .

1. March 20, 2024 is fixed as the last day for the filing of claims by creditors other than governmental units.

2. March 26, 2024 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerk's office.

                                                              For the Court,


Dated: December 19, 2023                                      Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
